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                            Exhibit 12
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SUMMARY OF EVENT:

On March 14-15, 2009, ATF undercover agents and confidential sources met with Members of the OUTLAWS
MOTORCYCLE CLUB (OUTLAWS MC) from North Carolina, South Carolina and Virginia. During this meeting
undercover agents attended the Regional Bosses meeting, which took place in Hopewell, Virgina. Additionally,
undercover agents and confidential sources were present when Members of the OUTLAWS MC planned and carried
out an assault on Members of the DESPERADOS MC, a HELLS ANGELS MC affiliate club. This assault took place
in Petersburg, Virginia. Several Members of the OULTAWS MC came armed with firearms to commit this assault.

NARRATIVE:

   1. On March 11, 2009, ATF Special Agent (SA) Jeff Grabman, while working in an undercover capacity, was
      contacted by Les WERTH, OUTLAWS MC COPPER REGION PRESIDENT. During this telephone
      conversation, WERTH told SA Grabman that he (WERTH) and approximately 5 other OUTLAWS MC
      Members from North and South Carolina would be coming to the Richmond, Virginia area on Saturday, March
      14, 2009. WERTH told SA Grabman that they had business that they had to discuss.

   2. Shortly after this conversation, SA Grabman contacted Mark FIEL, AKA SNUFF, MANASSAS/FRONT
      ROYAL, VIRGINIA OUTLAWS MC PRESIDENT by telephone. During this conversation, SA Grabman
      informed FIEL that WERTH had contacted him (SA Grabman) and that WERTH and others were coming to the
      Richmond area on Saturday. FIEL stated that he already knew about the planned meeting and would see SA
      Grabman at his (SA Grabman’s) residence on Saturday. SA Grabman had a later conversation with FIEL on
      March 12, 2009, during which FIEL told SA Grabman that WERTH and the other OUTLAW MC Members
      were meeting in Richmond to conduct the Regional Bosses meeting, where WERTH would discuss everything
      that was talked about at the National meeting held in Daytona, Florida during the recent March bike week.
      FIEL added that these members were also going the be in Richmond to show support for the Richmond chapter.
      FIEL also told SA Grabman that he (FIEL) had spoken to Charles LOVE, AKA REBAR, PRESIDENT of the
      RICHMOND, VIRGINIA Chapter of the PAGAN’s MC (PMC) and told LOVE that several Members of the
      OUTLAWS MC from out of state would be in the Richmond area on Saturday.

   3. On March 13-14, SA Grabman was contacted several times by LOVE by telephone. During these
      conversations, LOVE stated that he too had PMC Members from outside the Richmond area in town, as a show
      of support and to assault members of the HAMC and their affiliate clubs if they came into the Southern Star bar,
      located in Colonial Heights, Virginia. LOVE asked SA Grabman to meet with himself and other PMC
      Members when the OUTLAWS MC Members from out of state came into town.

   4. On March 14, 2009, ATF SA’s Grabman, Dan Ozbolt and Thomas Anderson, along with two ATF Confidential
      Sources, met with the following OUTLAWS MC Members:

             Les WERTH – COPPER REGION PRESIDENT
             Mike MARIACA, AKA M & M – PRESIDENT of the ROCK HILL, SC CHAPTER
             Mike SMITH – PRESIDENT of the LEXINGTON, NC CHAPTER
             Harry MCCALL – VICE PRESIDENT CHAROLETTE, NC CHAPTER
             Christopher TIMBERS, AKA ALIBI – MEMBER MANASSAS, VIRGINIA CHAPTER
             Lyle BEATTY, AKA BUTCHY- MEMBER MANASSAS, VIRGINIA CHAPTER
             William DAVEY, AKA REBEL – MEMBER ASHVILLE, NC CHAPTER

   5. During this meeting at the undercover residence in Hopewell, Virginia, WERTH stated that he wanted SA
      Grabman to locate a hotel where they could conduct the Regional Meeting. It was made apparent that the
      OUTLAWS were concerned about locations being bugged by law enforcement and stated that they wanted to
      do it at another location. It was later told to undercover agents that Bosses Meetings are always held in a
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   “neutral” location that is safe. SA Grabman was able to locate a room at the Fairfield Inn, in Hopewell,
   Virginia to conduct the meeting.

6. While at the undercover residence, the Members of the OULTAWS that were present stated that they had come
   to Richmond to conduct this meeting, in part because they wanted to take the opportunity to come to Virginia to
   find and assault Members and associates of the HELLS ANGELS MC (HAMC) and their support clubs.
   Undercover agents were asked to describe the membership and strength of the HAMC and their support clubs,
   to include where the local establishments were that they frequent. The undercover agents were told that
   following the Regional Meeting, Members of the OUTLAWS were going to be going out in the Richmond area
   to find and assault these HAMC Members and support club members. Additional details of this conversation
   are contained on the audio/video CD recording made at the undercover residence, which has been placed into
   ATF Evidence as Item #E-088.

7. The regional Meeting was held in room 327 at the Fairfield Inn, located in Hopewell, Virginia. During the
   course of this meeting, which WERTH ran, issues that were presented at the National meeting were discussed,
   to include:

          The OULTAWS currently have 526 Members, and 50 new Members since December of 2008.
          Rochester, IL has a new Black Piston Chapter
          Mt. Vernon, IL has a new Black Piston Chapter
          “BOBBY” from Peoria, IL is out of the club
          “ROAD HOG” from Indiana quit the club
          Member need to write more letters to Members in Prison, so they feel needed and do not cooperate with
           law enforcement
          Absolutely no pictures on any websites of Outlaw members
          The OUTLAWS in Orlando have a new clubhouse
          “POCKETS” from Pensacola, FL was arrested by the “Feds” for a fight
          New OUTLAWS Prospect Chapter in Cleveland, TN
          The OUTLAWS are not going to attend the National NCOM meeting this year
          The OUTLAWS now have 89 Chapters, in 1992 they only had 27 Chapters
          The Wilkinsburg, PA Chapter of the OUTLAWS was raided approximately a week ago by the “Feds”.
          The New York NIGHT RIDERS MC has patched over to become HELLS ANGELS MC Members.
          “RANDY” from Columbus, OH Chapter quit the club
          The ANIMALS MC from Pennsylvania are now an official OUTLAWS Affiliate Club
          Need to be cautious around the black WHEELS OF SOUL MC Members, some OUTLAWS ok with
           them others are not
          If a Members fails to defend his patch or is “punked out” while wearing his patch, he will have his 1%er
           Diamond cut off his colors because he embarrassed the club
          “DOMINICH” will be “off-paper” soon.
          The HIGHLAND CLAN MC, which is an OUTLAW support club from Wisconsin/Northern Michigan,
           opened a new chapter in Ohio.
          BLACK HAWKS MC in Martinsburg, IN is an official OUTLAWS support club
          MINYUNS MC in Anderson, IN is now an official OUTLAWS support club
          As of now, the OUTLAWS are not going to the “SMOKEOUT” at the Rockingham Drag Strip on May
           15, 2009
          “SIR RICH” from Oklahoma is out of the club
          “ED” from Ardmore, OK is out bad from the club
          OUTLAWS LLC dues this year are $425.00, $42.50 per region
          “SKEETER” in CT is out of the club
          NH Chapter has lost their clubhouse, “HO JO” will now be the point of contact for anyone needing
           anything in NH
          “LARRY MAC” is going to CANCUN, MX to talk to people there about opening a chapter
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          Savannah, GA clubhouse is being forced to move.
          “GRIZZ” from Savannah is out of the club
          “JESSIE” in Alabama was involved in a motorcycle robbery/scam involving another OUTLAWS
           Member for $10,000 and is out of the club in bad standing
          All patches in the COPPER REGION have to go through “LIGHTNING”.
          There is a new OUTLAWS MC Chapter starting mid-summer in Madison, WS
          “RABBI” from Wisconsin is out of the club
          Black Pistons MC is updating their Chapter list and should be available soon.

8. Additional information was also presented concerning runs and events that are scheduled for this summer, as
   well as listings of OUTLAWS MC Members that are in the hospital or who have recently been involved in
   motorcycle accidents. A copy of SA Grabman’s (who attended this meeting) handwritten notes, have been
   placed in the ATF case file.

9. Following this meeting, all the OUTLAWS MC Members listed above who came to the undercover residence,
   along with SA’s Grabman, Ozbolt and Anderson and the two Confidential Sources (CS’s) went to eat at a local
   restaurant in Hopewell, Virginia. After eating dinner, while standing outside the restaurant, MARCICIA made
   statements about having “MAGGOT ALAMODE for desert or better yet MAGGOT LIVER”. MAGGOT is a
   derogatory term used by the OULTAWS MC referring to the HELLS ANGELS MC. During this conversation,
   WERTH stated that he wanted to go down to the area where the HELLS ANGELS MC or their Affiliates might
   be, send three OUTLWAS MC Members inside see what happens and the rest can come in behind.

10. After eating, WERTH told SA Grabman to find out where the HAMC and/or their Associate clubs would be
    that evening. SA Grabman told WERTH that he had not been to any of their (HAMC Members and/or
    associates) bars in the Richmond, Virginia area before. SA Grabman stated that the only bar that he was aware
    that the HAMC Affiliate clubs, DESPERADOS MC, MERCILESS SOULS MC and the PURE EVIL MC
    frequent was a bar called the “COCKADES” located in Petersburg, Virginia. SA Grabman further stated that
    he did not know where it was located. WERTH instructed SA Grabman to find out the exact location of the bar
    and stated that this was the place that he wanted to go to that evening. SA Grabman attempted to get WERTH
    to go to an OUTLAWS MC and PMC friendly bar, the Southern Star, but WERTH stated he did not want to go
    there and again instructed SA Grabman to locate the COCKADE bar. SA Grabman then called PMC
    PRESIDENT LOVE to find out where the bar is located. LOVE gave SA Grabman a general location of the bar
    and then put DEVILS GRIP MC PRESIDENT, Chuck BARLOW on the telephone who gave further directions.
    During this conversation, LOVE told SA Grabman to call him if they ran into any HAMC Affiliate club
    Members, stating that he and several other PMC Members would be there to help them if needed.

11. While driving to the COCKADE bar, WERTH called SA Grabman, who was in a separate vehicle, and
    instructed him to find a place for everyone to pull off so he (WERTH) could discuss the plan that he had
    devised. The undercover agents and CS’s, followed by the OUTLAWS MC Members, pulled into a school
    parking lot off Highway 36 and parked. Everyone exited their respective vehicles and WERTH then detailed
    his plan. WERTH stated that he wanted three of the smaller OUTLAWS MC Members, selecting SA
    Anderson, one of the ATF CS’s and OUTLAWS MC Member DAVEY, to go into the bar first. WERTH then
    stated that himself, MARCICIA and MCCALL would then go into the bar “slick back”, referring to not wearing
    their colors. WERTH stated that SA’s Grabman and Ozbolt, along with BEATTY and TIMBERS, would wait
    outside the bar and watch over Mike SMITH, who would stand outside the bar, in plain site wearing his
    OUTLAWS patch, to try to lure anyone outside into the bar. SA’s Grabman and Ozbolt, along with BEATTY
    and TIMBERS, were then to follow SMITH into the bar, approximately 15 minutes after the first group entered
    the bar. While in the parking lot, WERTH, MARCICIA and MCCALL were observed with firearms, placing
    them on their person.

12. Everyone then left the parking lot in their respective vehicles and drove directly to the COCKADE bar, located
   at 305 N. SYCAMORE STREET, PETERSBURG, VIRGINIA. As planned, one of the ATF CS’s, DAVEY
   and SA Anderson, all wearing their OUTLAWS MC patches, entered the bar first, shortly thereafter followed
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   by WERTH, MARCICIA and MCCALL, who were not wearing any OUTLAWS MC insignia. Approximately
   5-10 minutes later, SMITH walked up, wearing his OUTLAWS MC patch and stood across the street from the
   bar. Within five minutes, two Members of the DESPERADOS MC walked up along side the bar with two
   females. As they neared the front of the bar, they motioned for the two females to walk back from the direction
   from where they had come and were heard telling the females to go back to the car. The two DESPERADOS
   then walked into the middle of the road and began verbally confronting SMITH. The DESPERADOS were
   heard yelling at SMITH, stating that Petersburg was “their town” and that the COCKADE was “their bar”.
   SMITH responded that VIRGINIA is an OUTLAW state, that Petersburg is an OUTLAW town and this is an
   OUTLAW bar now. After a couple of minutes of this banter, the two DESPERADOS entered the bar. Shortly
   thereafter followed by SMITH, BEATTY, TIMBERS and SA’s Grabman and Ozbolt, who were all wearing
   OUTLAWS MC patches. When the two DESPERADOS MC Members entered the bar, they were joined
   thereafter by a third DESPERADO wearing a DESPERADOS MC patch. Two of the DESPERADOS MC
   Members walked past SA Anderson, DAVEY and the ATF CS and then continued onto and entered the men’s
   restroom near the rear of the bar.

13. After a brief time period, the two DESPERADOS MC Members exited the bathroom and as they walked past
    SMITH and BEATTY, they engaged in a heated conversation with SMITH and BEATTY. During this verbal
    confrontation, SMITH began physically assaulting one of the Members of the DESPERADOS MC. During this
    confrontation, the DESPERADOS MC Member attempted to retrieve a large Mag Light from his rear pocket.
    As he began to remove the flashlight, SA Ozbolt grabbed it from his hand (this flashlight was placed into ATF
    Evidence as Item #031).

14. As the physical altercation began, SA’s Grabman and Anderson, who were approximately 5-6 feet away from
    the altercation and who were not participating in the altercation, were assaulted by a DESPERADOS MC
    Associate, during which this individual struck SA Grabman across the face with a full beer bottle, leaving SA
    Grabman with a gash on his forehead, which produced a large amount of blood. SA’s Grabman and Anderson,
    disarmed this individual, utilizing their ATF issued batons and this individual then ran out of the bar.

15. During this assault, the DESPERADOS MC Members exited the bar. SA’s Grabman and Ozbolt also exited the
    bar a short time later and walked back to the ATF undercover vehicle to attempt to remove the blood that had
    come from SA Grabman’s facial injury and to attempt to stop the bleeding.

16. Shortly thereafter, SA’s Grabman and Ozbolt exited the vehicle and walked back into the bar. During this
    assault, and while seated in the vehicle, SA Grabman received several telephone calls from PAGANS MC
    PRESIDENT Charles LOVE, AKA REBAR, as well as SA Ozbolt received several calls from UNTAMED MC
    Member “CHEW CHEW”. SA Grabman spoke with LOVE during one of these calls and informed LOVE that
    the OULTAWS were at the time engaged in an ongoing assault with the DESPERADOS MC. It was later
    learned that LOVE, PMC Lynchburg Member “TORCH”, PMC Richmond SGT-at-ARMS JIMBO, DEVILS
    GRIP MC PRESIDENT Chuck BARLOW and UNTAMED MC Member CHEW CHEW, had showed up at the
    bar to help participate in the assault of the DESPERADOS MC Members. Further details of their participation
    are detailed in a separate ATF ROI.

17. SA’s Grabman and Ozbolt re-entered the bar and all the rest of the OUTLAWS MC Members were still in the
    bar. A short time later, several marked police units from the Petersburg Police Department arrived at the bar.
    All of the OUTLAWS MC Members, including the undercover agents and the CS exited the bar and walked
    together around the corner. As they walked they observed numerous Members of the DESPERADOS MC
    standing in a parking lot. WERTH, MARCICIA and SMITH began walking toward these DESPERADOS MC
    Members, followed by the rest of the OUTLAWS MC Members, to include the ATF undercover agents and the
    CS. As they approached the DESPERADOS MC Members, a female was observed passing a handgun through
    an open window of her vehicle to one of the DESPERADOS MC Members who was next to the vehicle (this is
    the same DESPERADOS MC Member, believed to be identified as AKA “RAMBO”, the ENFORCER for the
    PETERSBURG, VIRGINIA DESPERADOS MC CHAPTER. WERTH, who had walked to approximately 15
    feet from where the DESPERADOS MC Members were standing, made a statement to the DESPERADOS MC
    Member who was now holding the handgun at his side, that he (WERTH) knew that the individual had the gun
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   in his hand, stated words to the effect of “you are a 1%er, lets see if you are willing to do what it takes to be a
   1%er”. At this point, WERTH pulled back his coat and placed his hand on his pistol, which was now in open
   view and MARCICIA withdrew his silver colored revolver from the back of his pants, showing it to the
   DESPERADOS MC Members and then placed it under his arm. During the course of this confrontation, the
   DESPERADOS MC Member who had assaulted SA Grabman with the beer bottle inside the bar, withdrew a
   knife and held it at his side in confrontation to SA’s Grabman and Anderson, who had walked to where he was
   standing in the group. SA Grabman disarmed this individual utilizing his ATF issued baton and the individual
   then ran from the area. After a short verbal exchange between WERTH and the DESPERADOS MC Members
   present, local law enforcement marked units began arriving in the area. The OUTLAWS MC Members, to
   include the undercover agents and the CS, then walked away from the area.

18. Following this incident, it was discovered that DAVEY had been arrested inside the bar by officers from the
    Petersburg Police Department for possession of brass knuckles and a concealed weapon (knife). DAVEY was
    allowed to bond out on the misdemeanor violations and later met up with undercover agents. During this time,
    SA Ozbolt received a telephone call on his undercover phone from CHEW CHEW. When SA Ozbolt answered
    the telephone, he discovered that it was PMC PRESIDENT LOVE that had utilized CHEW CHEW’s phone to
    call him. During this discussion, LOVE told SA Ozbolt about how he (LOVE), along with PMC Member
    TORCH, PMC SGT-at-ARMS JIMBO, DEVILLS GRIP MC PRESIDENT Chuck BARLOW and UNTAMED
    MC Member CHEW CHEW had come to the COCKCADE bar to help assault members of the DESPERADOS
    MC with the OUTLAWS. LOVE told SA Ozbolt that they had jumped out of their vehicle with three axe
    handles and a gun and chased down some of the DESPERADOS MC Members.

19. The OUTLAWS MC Members and the undercover agents and CS, regrouped and then went to Live Wires bar,
    located in Hopewell, Virginia, during which no additional incidents occurred. During this time, TIMBERS and
    BEATTY left the bar, stating that they were driving back home.

20. After leaving the Live Wire bar, The OUTLAWS MC Members, along with the undercover agents and the CS
    drove back to the undercover residence. While driving back to the undercover residence, Mike SMITH, who
    was riding in the undercover vehicle with SA’s Grabman and Ozbolt, along with DAVEY, stated that “bad part
    about being in another state is I feel naked without my gun, you know I am a felon, I’m not supposed to have
    one”. A criminal history check of SMITH’s criminal background shows that he is in fact a convicted felon.

21. Upon returning to the undercover residence, there were brief discussions concerning the evening’s incident.
    Additionally, WERTH was observed removing the pistol that he carried in a belly band around his waist. SA
    Ozbolt was allowed by WERTH to look at the pistol, which is described as a silver in color, Ruger P 90 pistol.
    SMITH and DAVEY did not stay at the undercover residence, but instead returned and utilized the room at the
    Fairfield Inn, which had been used to conduct the earlier Regional Bosses meeting.

22. The following morning, March 15, 2009, around 9:00am, the OUTLAWS MC Members who had stayed at the
    undercover residence, WERTH, MARCICIA and MCCALL, left and drove back to North Carolina.

23. Further details of this event are contained on the audio CD recording made from the recording device worn by
    SA Ozbolt, which has been placed into ATF Evidence as Item #E-089.
